             Case 20-05195-MM7                    Filed 10/20/20           Entered 10/20/20 22:09:14                  Doc 1        Pg. 1 of 69


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Emerald Health Bioceuticals, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5910 Pacific Center Blvd.
                                  Suite 300
                                  San Diego, CA 92121
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Diego                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.emeraldhealthbio.life


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Emerald Health Bioceuticals, Inc.                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3254

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known



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Debtor   Emerald Health Bioceuticals, Inc.                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Emerald Health Bioceuticals, Inc.                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 20, 2020
                                                  MM / DD / YYYY


                             X   /s/ Gaetano Morello                                                      Gaetano Morello
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Jon M. Cooper                                                         Date October 20, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jon M. Cooper 229571
                                 Printed name

                                 San Diego Legal Pros
                                 Firm name

                                 3110 Camino del Rio South, Suite 315
                                 San Diego, CA 92108
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (619) 881-0020                Email address      jon@sandiegolegalpros.com

                                 229571 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         Emerald Health Bioceuticals, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                            12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 20, 2020                        X /s/ Gaetano Morello
                                                                       Signature of individual signing on behalf of debtor

                                                                       Gaetano Morello
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
            Case 20-05195-MM7                                     Filed 10/20/20                         Entered 10/20/20 22:09:14                                           Doc 1       Pg. 6 of 69

 Fill in this information to identify the case:

 Debtor name            Emerald Health Bioceuticals, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                         Check if this is an
                                                                                                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                     12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                    $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                       $           287,920.61

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                      $           287,920.61


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $           209,949.30

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$       10,942,524.61


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                             $         11,152,473.91




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                            Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         Emerald Health Bioceuticals, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                              Last 4 digits of account
                                                                                                             number


           3.1.     Comerica Checking Account                                Checking                        7087                                    $42,191.96



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $42,191.96
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                               451,457.30   -                       225,728.65 =....                              $225,728.65
                                              face amount                        doubtful or uncollectible accounts



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
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 Debtor         Emerald Health Bioceuticals, Inc.                                             Case number (If known)
                Name


 12.       Total of Part 3.                                                                                                         $225,728.65
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                      Valuation method used    Current value of
                                                                                                      for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     49% stock ownership of Emerald Health
                     Naturals, Inc., a Canadian Corporation.
                     EHN's sole business was to distribute EHB
                     products in Canada. EHN has limited
           15.1.     inventory of its own.                                          49            %   Liquidation                          Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                 $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of       Valuation method used    Current value of
                                                      physical inventory      debtor's interest       for current value        debtor's interest
                                                                              (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Inventory - Wholesale
           value was estimated at
           $2,615,000 at the last
           inventory. Current
           market value is
           unknown as some
           product is out of date.                    May 2020                           Unknown      Wholesale                            Unknown



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                 $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor         Emerald Health Bioceuticals, Inc.                                                Case number (If known)
                Name


               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used     Current value of
                                                                                 debtor's interest      for current value         debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Various office furniture and furnishings -
           approximate current value                                                           $0.00                                        $10,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Two computers                                                                  Unknown                                             Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $10,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
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 Debtor         Emerald Health Bioceuticals, Inc.                                             Case number (If known)
                Name



 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Patent on Phytocann Complex -
            NON-CANNABIS PHYTOCANNABINOID
            COMPOSITIONS AND USES THEREOF                                              Unknown       N/A                                  Unknown



 61.        Internet domain names and websites
            www.emeraldhealthbio.com                                                   Unknown       N/A                                  Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer list                                                              Unknown       N/A                                  Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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 Debtor         Emerald Health Bioceuticals, Inc.                                            Case number (If known)
                Name

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Reimbursemnt check anticipated to be coming from
           CNA Insurance.                                                                                                            $10,000.00




 78.       Total of Part 11.                                                                                                       $10,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 5
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 Debtor          Emerald Health Bioceuticals, Inc.                                                                   Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $42,191.96

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $225,728.65

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $10,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $10,000.00

 91. Total. Add lines 80 through 90 for each column                                                            $287,920.61           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $287,920.61




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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 Fill in this information to identify your case:

 Debtor 1                    Gaetano Morello
                             First Name                     Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name                 Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B
      Brief description:
      Line from Schedule A/B:
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Emerald Health Bioceuticals, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Emerald Health Bioceuticals, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                    $105,000.00          Unknown
           Elena Traistaru                                           Check all that apply.
           11444 Aspendell Drive                                        Contingent
           San Diego, CA 92131                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019-2020                                                 Salary - Interim CFO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $37,500.00          Unknown
           Gaetano Morello                                           Check all that apply.
           9 Heritage Peak Rd.                                          Contingent
           Port Moody, BC V3H 0H5                                       Unliquidated
           Canada                                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019-2020                                                 salary and consulting fees - former CEO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 18
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 Debtor       Emerald Health Bioceuticals, Inc.                                                               Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $900.00    Unknown
           Sara Pluta                                                Check all that apply.
           10936 East Desert Troon Lane                                 Contingent
           Scottsdale, AZ 85255                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019-2020                                                 Former employee- Director
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $26,149.30      Unknown
           Stuart Hutchinson                                         Check all that apply.
           1394 Tributary Ct                                            Contingent
           Fort Collins, CO 80521                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019 - 2020                                               Former employee
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $40,400.00      Unknown
           Tuan Diep                                                 Check all that apply.
           13504 Scarlet Sage Trail                                     Contingent
           San Diego, CA 92130                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019-2020                                                 Severance - former President
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $1,700.00
           Akin's Natural Foods                                                        Contingent
           7807 E 51st St                                                              Unliquidated
           Tulsa, OK 74145                                                             Disputed
           Date(s) debt was incurred     1/14/20                                   Basis for the claim:     Business Debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $150.00
           Alenni Romero                                                               Contingent
           4834 N Casas Serenas Dr                                                     Unliquidated
           Tucson, AZ 85705                                                            Disputed
           Date(s) debt was incurred 2/8/20
                                                                                   Basis for the claim:     Business Debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 18
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 Debtor       Emerald Health Bioceuticals, Inc.                                                       Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $675.00
          All About You LLC                                                     Contingent
          1730 S Federal Hwy #287                                               Unliquidated
          Delray Beach, FL 33483                                                Disputed
          Date(s) debt was incurred 2/15/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,889.00
          Amin Talati Upadhye, LLP                                              Contingent
          100 South Wacker Dr. Suite 2000                                       Unliquidated
          Chicago, IL 60606                                                     Disputed
          Date(s) debt was incurred 3/19/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $500.00
          Angela Donald                                                         Contingent
          164 Kingswood Dr                                                      Unliquidated
          Hammonds Plains, NS B4B1K4                                            Disputed
          Date(s) debt was incurred 1/30/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $900.00
          Annmarie R Revet                                                      Contingent
          PO Box 5723                                                           Unliquidated
          Irvine, CA 92603                                                      Disputed
          Date(s) debt was incurred      2/8/20                              Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $680.00
          AON RISK INSURANCE SERVICES WEST,                                     Contingent
          INC.                                                                  Unliquidated
          P.O. BOX 849832                                                       Disputed
          LOS ANGELES, CA 90084
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred 10/26/19
          Last 4 digits of account number 5                                  Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Avtar Dhillon                                                         Contingent
          55 Vista Del Golfo                                                    Unliquidated
          Long Beach, CA 90803                                                  Disputed
          Date(s) debt was incurred January 2020
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,333.01
          Beyond Benefits                                                       Contingent
          P.O. Box 87610                                                        Unliquidated
          San Diego, CA 92138                                                   Disputed
          Date(s) debt was incurred      5/1/20                              Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 18
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 Debtor       Emerald Health Bioceuticals, Inc.                                                       Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,000.00
          BLAZEPR                                                               Contingent
          808 State St                                                          Unliquidated
          Santa Barbara, CA 93101                                               Disputed
          Date(s) debt was incurred 10/31/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,070.00
          Brittany Ann Wittelsberger                                            Contingent
          9 Shelbys Path, Apt G                                                 Unliquidated
          Sparks, MD 21152                                                      Disputed
          Date(s) debt was incurred 2/21/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $526,784.00
          Captek                                                                Contingent
          16218 Arthur Street                                                   Unliquidated
          Cerritos, CA 90703                                                    Disputed
          Date(s) debt was incurred      9/28/19                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $126,767.00
          CAS BioSciences, LLC                                                  Contingent
          1501 Broadway 12th Floor                                              Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred 11/14/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.00
          Charlane Choquette                                                    Contingent
          1430 N Cloverland Ave                                                 Unliquidated
          Tucson, AZ 85712                                                      Disputed
          Date(s) debt was incurred 2/8/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,559.96
          CNA INSURANCE                                                         Contingent
          P.O. BOX 790094                                                       Unliquidated
          ST LOUIS, MO 63179                                                    Disputed
          Date(s) debt was incurred  4/9/20                                  Basis for the claim:    Business Debt
          Last 4 digits of account number 8732
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,900.00
          Connell Communications, Inc.                                          Contingent
          5 Speen St                                                            Unliquidated
          Framingham, MA 01701                                                  Disputed
          Date(s) debt was incurred 12/16/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 18
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 Debtor       Emerald Health Bioceuticals, Inc.                                                       Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,250.00
          Cruz Bay Publishing                                                   Contingent
          5720 Flatiron Parkway                                                 Unliquidated
          Boulder, CO 80301                                                     Disputed
          Date(s) debt was incurred 1/4/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,000.00
          Dana Samu                                                             Contingent
          226 Hiawatha Dr                                                       Unliquidated
          West Vancouver, BC V7P 1E1                                            Disputed
          Date(s) debt was incurred 2/16/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $81,405.00
          Deloitte & Touche LLP                                                 Contingent
          4022 Sells Drive                                                      Unliquidated
          Hermitage, TN 37076                                                   Disputed
          Date(s) debt was incurred 3/30/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,550.00
          Demos on the Go                                                       Contingent
          3059 View Ridge Dr.                                                   Unliquidated
          Spring Branch, TX 78070                                               Disputed
          Date(s) debt was incurred 2/8/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,441.80
          Doctor Health, Inc.                                                   Contingent
          1215 South Kihei Road                                                 Unliquidated
          Suite O-505                                                           Disputed
          Kihei, Maui, HI 96753
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred 9/30/19
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $67,611.00
          Dynamic Presence                                                      Contingent
          12 Executive Court                                                    Unliquidated
          South Barrington, IL 60010                                            Disputed
          Date(s) debt was incurred 4/15/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $850.00
          Earth Origins Market                                                  Contingent
          7807 E 51 St                                                          Unliquidated
          Tulsa, OK 74145                                                       Disputed
          Date(s) debt was incurred      1/14/20                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 18
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 Debtor       Emerald Health Bioceuticals, Inc.                                                       Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,500.00
          Economics Partrners, LLC                                              Contingent
          PO Box 848351                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred 1/4/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $250.00
          Edgar Agents, LLC                                                     Contingent
          105 White Oak Lane                                                    Unliquidated
          Suite 104                                                             Disputed
          Old Bridge, NJ 08857
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred      10/30/19
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,351.00
          Edisoft                                                               Contingent
          1210 Sheppard Ave East                                                Unliquidated
          Suite 710                                                             Disputed
          Toronto, ON M2K 1E3
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred 3/24/20
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,595.00
          Efficient Collaborative Retail Marketing                              Contingent
          27070 Miles Road, Suite A                                             Unliquidated
          Solon, OH 44139                                                       Disputed
          Date(s) debt was incurred 8/25/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,773.85
          Emerald Health Biotechnology Espana, S.L                              Contingent
          Parque Cientifico Tecnologico de Cordoba                              Unliquidated
          Rabanales 21 Edif.Cantauro ID 18.1 Prime                              Disputed
          Cordoba 14014
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred 1/26/20
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,254.00
          Emerald Health Pharmaceuticals                                        Contingent
          850 Burton Rd                                                         Unliquidated
          Ste 201                                                               Disputed
          Dover, DE 19904
                                                                             Basis for the claim:    Loan
          Date(s) debt was incurred 2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,771.00
          Emerald Health Pharmaceuticals Inc                                    Contingent
          5910 Pacific Center Blvd, Ste 300                                     Unliquidated
          San Diego, CA 92121                                                   Disputed
          Date(s) debt was incurred 1/30/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 18
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 Debtor       Emerald Health Bioceuticals, Inc.                                                       Case number (if known)
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,627,748.00
          Emerald Health Sciences                                               Contingent
          2500 Park Place                                                       Unliquidated
          666 Burard St                                                         Disputed
          Vancouver, BC., V6C 2X8
                                                                             Basis for the claim:    Loan
          Date(s) debt was incurred 2019-2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,371.00
          Emerson Ecologics, LLC                                                Contingent
          1230 Elm St. Ste 301                                                  Unliquidated
          Manchester, NH 03101                                                  Disputed
          Date(s) debt was incurred 12/21/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,207.09
          England Logistics, Inc.                                               Contingent
          1325 South 4700 West                                                  Unliquidated
          Salt Lake City, UT 84104                                              Disputed
          Date(s) debt was incurred 12/12/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,313.50
          Eurofins BioDagnostics, Inc.                                          Contingent
          507 Highland Dr                                                       Unliquidated
          River Falls, WI 54022                                                 Disputed
          Date(s) debt was incurred 12/1/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,505.00
          Foerstel Design, Inc.                                                 Contingent
          249 South 16th Street                                                 Unliquidated
          Boise, ID 83702                                                       Disputed
          Date(s) debt was incurred 1/30/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,500.00
          Fox Rothschild LLP                                                    Contingent
          2000 Market St, 20th Floor                                            Unliquidated
          Philadelphia, PA 19103                                                Disputed
          Date(s) debt was incurred 12/11/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $250.00
          Frazier Farms Market                                                  Contingent
          1820 Oceanside Blvd                                                   Unliquidated
          Oceanside, CA 92054                                                   Disputed
          Date(s) debt was incurred 1/30/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Emerald Health Bioceuticals, Inc.                                                       Case number (if known)
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $500.00
          Fruitful Yield, Inc.                                                  Contingent
          244 Knollwood Drive                                                   Unliquidated
          Suite 200                                                             Disputed
          Bloomingdale, IL 60117-0001
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred 3/25/20
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,367.00
          Furniture Environments                                                Contingent
          6196 Sunset Crest Way                                                 Unliquidated
          San Diego, CA 92121                                                   Disputed
          Date(s) debt was incurred 10/15/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Gaetano Morello                                                       Contingent
          9 Heritage Peak Rd.                                                   Unliquidated
          Port Moody, BC V3H 0H5                                                Disputed
          Canada
                                                                             Basis for the claim:    Loan
          Date(s) debt was incurred January 2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,208.50
          GENIUS CENTRAL SYSTEMS, INC.                                          Contingent
          DEPT CH 19799                                                         Unliquidated
          PALATINE, IL 60055                                                    Disputed
          Date(s) debt was incurred 4/3/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $331.25
          Gowling WLG (CANADA) LLP                                              Contingent
          160 Elgin St. Suite 2600                                              Unliquidated
          Ottawa, ON K1P 1C3                                                    Disputed
          Date(s) debt was incurred 12/6/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $654,070.86
          Greenberg Traurig, LLP                                                Contingent
          1201 K Street Suite 1100                                              Unliquidated
          Sacramento, CA 95814                                                  Disputed
          Date(s) debt was incurred 5/3/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.00
          Gwenlyn Giguere                                                       Contingent
          100 Quiet Desert Ln                                                   Unliquidated
          Henderson, NV 89074                                                   Disputed
          Date(s) debt was incurred 2/8/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $440.00
          Health Quest Podcast, LLC                                             Contingent
          2730 Summerset Circle                                                 Unliquidated
          Suamico, WI - WISCONSIN 54173-0000                                    Disputed
          Date(s) debt was incurred 3/19/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,107.50
          Heather Angeline, Inc                                                 Contingent
          5464 Caminito Exquisito                                               Unliquidated
          San Diego, CA 92130                                                   Disputed
          Date(s) debt was incurred 2/6/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,050.00
          Heather Stone                                                         Contingent
          29204 Via Estancia                                                    Unliquidated
          Valencia, CA 91354                                                    Disputed
          Date(s) debt was incurred      2/15/20                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $113.00
          ID.me Inc.                                                            Contingent
          8281 Greensboro Dr. Suite 600                                         Unliquidated
          Tysons, VA 22102                                                      Disputed
          Date(s) debt was incurred 3/30/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $720.00
          Ilona Paley                                                           Contingent
          322 Culver Blvd #250                                                  Unliquidated
          Playa del Rey, CA 90293                                               Disputed
          Date(s) debt was incurred 2/8/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,630.00
          Informa Media, Inc.                                                   Contingent
          1100 Superior Ave                                                     Unliquidated
          Cleveland, OH 44114                                                   Disputed
          Date(s) debt was incurred      3/21/20                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $205.36
          Inmar-YouTech, LLC                                                    Contingent
          2001 Junipero Serra Blvd. Ste.400                                     Unliquidated
          Daly City, CA 94014                                                   Disputed
          Date(s) debt was incurred 4/16/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,820.00
          Interactions                                                          Contingent
          9520 Towne Centre Dr                                                  Unliquidated
          Suite 120                                                             Disputed
          San Diego, CA 92121
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred 3/1/20
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.00
          Janice Hanna                                                          Contingent
          1129 Broadway                                                         Unliquidated
          San Diego, CA 92101                                                   Disputed
          Date(s) debt was incurred      2/8/20                              Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.00
          Jarred Botha                                                          Contingent
          10318 Molino Rd                                                       Unliquidated
          Santee, CA 92071                                                      Disputed
          Date(s) debt was incurred      1/15/20                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $601.62
          Jonni Vann                                                            Contingent
          2527 Redfield Drive                                                   Unliquidated
          Norcross, GA 30071                                                    Disputed
          Date(s) debt was incurred      1/15/20                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,710.00
          Katelyn Sayad                                                         Contingent
          1600 Ovaltine Court, Unit 1636                                        Unliquidated
          Villa Park, IL 60181                                                  Disputed
          Date(s) debt was incurred 2/15/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,890.00
          Kathy F. Baudoin                                                      Contingent
          533 Louisiana Ave                                                     Unliquidated
          Slidell, LA 70458                                                     Disputed
          Date(s) debt was incurred      2/8/20                              Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $472.50
          Koning Zollar LLP                                                     Contingent
          2210 Encinitas Blvd #S                                                Unliquidated
          Encinitas, CA 92024                                                   Disputed
          Date(s) debt was incurred 12/5/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,560.00
          Kristin Bryans                                                        Contingent
          7574 Jennite Drive                                                    Unliquidated
          San Diego, CA 92119                                                   Disputed
          Date(s) debt was incurred  1/30/20                                 Basis for the claim:    Contract
          Last 4 digits of account number 16EH
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $288.00
          Law Office of Bayne & Associates                                      Contingent
          601 Pennsylvania Ave, NW                                              Unliquidated
          Suite 900 South Bldg                                                  Disputed
          Washington, DC 20004
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred 11/29/19
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $375.00
          Lisa Loos                                                             Contingent
          4700 W Simpson Rd                                                     Unliquidated
          Edmond, OK 73025                                                      Disputed
          Date(s) debt was incurred      2/8/20                              Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $66,396.75
          Lohman & Dehner Inc.                                                  Contingent
          2262 Carmel Valley Road, Suite 200                                    Unliquidated
          Del Mar, CA 92014                                                     Disputed
          Date(s) debt was incurred 2/25/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,247.00
          Lucid Consulting, LLC                                                 Contingent
          336 36th St Ste 342                                                   Unliquidated
          Bellingham, WA 98225                                                  Disputed
          Date(s) debt was incurred 3/30/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.00
          Magdalena Paszkowska                                                  Contingent
          1042 Elmwood Ln                                                       Unliquidated
          Elk Grove Village, IL 60007                                           Disputed
          Date(s) debt was incurred 12/30/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.00
          Marla Finley                                                          Contingent
          198 Southgate Dr                                                      Unliquidated
          Lancaster, PA 17602                                                   Disputed
          Date(s) debt was incurred      2/8/20                              Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,999.99
          Michael T. Murray, N.D                                                Contingent
          18650 N Thompson Peak Pkwy #1061                                      Unliquidated
          Scottsdale, AZ 85255                                                  Disputed
          Date(s) debt was incurred 3/29/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,179.11
          Milano Promotional Services, Inc.                                     Contingent
          2615 River Road Unit #1                                               Unliquidated
          Cinnaminson, NJ 08077                                                 Disputed
          Date(s) debt was incurred 4/23/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,732.00
          Morrison & Foerster LLP                                               Contingent
          PO Box 742335                                                         Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred 4/19/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $375.00
          Nancy L. Bell                                                         Contingent
          3034 Campfire Dr                                                      Unliquidated
          Lawrence, KS 66049                                                    Disputed
          Date(s) debt was incurred      2/15/20                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,000.00
          National Cooperative Grocers Association                              Contingent
          14 S Linn St                                                          Unliquidated
          Iowa City, IA 52240                                                   Disputed
          Date(s) debt was incurred 2/11/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,400.00
          Natur-Tyme, Inc.                                                      Contingent
          3160 Erie Blvd East                                                   Unliquidated
          DeWitt, NY 13214                                                      Disputed
          Date(s) debt was incurred      11/18/19                            Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,100.00
          Natural Partners, Inc.                                                Contingent
          8445 E Hartford Dr                                                    Unliquidated
          Scottsdale, AZ 85255                                                  Disputed
          Date(s) debt was incurred 12/31/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,750.00
          Natural Products Association                                          Contingent
          440 1st St. NW Ste. 520                                               Unliquidated
          Washington, DC 20001                                                  Disputed
          Date(s) debt was incurred 1/31/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,056.00
          Naturemed Research, Inc.                                              Contingent
          12153 Salix Way                                                       Unliquidated
          San Diego, CA 92129                                                   Disputed
          Date(s) debt was incurred 4/14/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,171.07
          ORCA Naturals                                                         Contingent
          4302 E La Puente Ave                                                  Unliquidated
          Phoenix, AZ 85044                                                     Disputed
          Date(s) debt was incurred 4/15/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,000.00
          Palko Distributing                                                    Contingent
          4991 W US Hwy 20                                                      Unliquidated
          Michigan City, IN 46360                                               Disputed
          Date(s) debt was incurred 2/8/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,354.00
          Pathway Consulting Group Ltd                                          Contingent
          105 Madison Way                                                       Unliquidated
          Lansdale, PA 19446                                                    Disputed
          Date(s) debt was incurred 6/8/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,577.00
          Pegasus Marketing & Design, Inc.                                      Contingent
          338 Via Vera Cruz #160                                                Unliquidated
          San Marcos, CA 92078                                                  Disputed
          Date(s) debt was incurred 11/13/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Phillip Harvey                                                        Contingent
          c/o Manuel Corrales, Jr.                                              Unliquidated
          17140 Bernardo Center Drive, Ste 358
          San Diego, CA 92128                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Lawsuit for wrongful discharge
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $450.00
          Planet One Ventures, Inc.                                             Contingent
          856 Glen Arbor Dr.                                                    Unliquidated
          Encinitas, CA 92024                                                   Disputed
          Date(s) debt was incurred 2/8/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,381.25
          Pulse Marketing Inc.                                                  Contingent
          38625 Calistoga Dr. #100                                              Unliquidated
          Murrieta, CA 92563                                                    Disputed
          Date(s) debt was incurred 10/15/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Punit Dhillon                                                         Contingent
          11220 Corte Belleza                                                   Unliquidated
          San Diego, CA 92130                                                   Disputed
          Date(s) debt was incurred      January 2020                        Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $229.81
          Rachel Elaine Smith                                                   Contingent
          4239 Menlo Dr                                                         Unliquidated
          Wichita, KS 67218                                                     Disputed
          Date(s) debt was incurred      2/8/20                              Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $600.00
          Real Food with Dana                                                   Contingent
          8620 Manchester Rd #3                                                 Unliquidated
          Silver Spring, MD 20901                                               Disputed
          Date(s) debt was incurred 12/27/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $594.00
          SBS LEASING A PROGRAM OF DE LAGE                                      Contingent
          LANDEN                                                                Unliquidated
          1111 Old Eagle School Rd                                              Disputed
          Wayne, PA 19087
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred 4/6/20
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $596.50
          SELECT MAILING                                                        Contingent
          9770 CARROLL CANYON RD STE E                                          Unliquidated
          SAN DIEGO, CA 92126                                                   Disputed
          Date(s) debt was incurred 12/27/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $423.46
          Sharp Electronics Corporation dba Sharp                               Contingent
          8670 Argent St                                                        Unliquidated
          Santee, CA 92071                                                      Disputed
          Date(s) debt was incurred 1/11/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.00
          Shelly LeAnn Jones                                                    Contingent
          4619 Royal Oak Rd                                                     Unliquidated
          Santa Maria, CA 93455                                                 Disputed
          Date(s) debt was incurred 1/15/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $495.00
          SPS Commerce, Inc.                                                    Contingent
          333 South Seventh St., Suite 1000                                     Unliquidated
          Minneapolis, MN 55402                                                 Disputed
          Date(s) debt was incurred 3/1/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,975.00
          Standard Electronics                                                  Contingent
          9340 Stevens Road                                                     Unliquidated
          antee, CA 92071                                                       Disputed
          Date(s) debt was incurred      12/6/19                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $175.00
          Stanley Cutts                                                         Contingent
          4001 W Sharon Ave.                                                    Unliquidated
          Phoenix, AZ 85029                                                     Disputed
          Date(s) debt was incurred      2/8/20                              Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $639.28
          STAPLES                                                               Contingent
          PO Box 105638                                                         Unliquidated
          Atlanta, GA 30348                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       3020
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $510.00
          Super Natural Distributors                                            Contingent
          W2296 N1680 Westwood Dr. Ste. C                                       Unliquidated
          Waukesha, WI 53186                                                    Disputed
          Date(s) debt was incurred 3/2/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 15 of 18
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 Debtor       Emerald Health Bioceuticals, Inc.                                                       Case number (if known)
              Name

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $600.00
          Susanne Bell                                                          Contingent
          14724 125th St KPN                                                    Unliquidated
          Gig Harbor, WA 98329                                                  Disputed
          Date(s) debt was incurred 1/30/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,546.21
          Tension Envelope Corporation                                          Contingent
          819 E 19th St                                                         Unliquidated
          Kansas City, MO 64108                                                 Disputed
          Date(s) debt was incurred 9/29/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,295.00
          The Data Council, LLC c/o Advantage Sale                              Contingent
          18100 Von Karman Ave.                                                 Unliquidated
          Irvine, CA 92612                                                      Disputed
          Date(s) debt was incurred 2/2/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,072.50
          The Ideal Connection Inc.                                             Contingent
          30 North Gould, Suite 5953                                            Unliquidated
          Sheridan, WY 82801                                                    Disputed
          Date(s) debt was incurred 2/29/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,688.17
          Thrive Market, Inc.                                                   Contingent
          4509 Glencoe Ave.                                                     Unliquidated
          Marine Del Rey, CA 90292                                              Disputed
          Date(s) debt was incurred 4/11/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,600.00
          Thrive Media                                                          Contingent
          3262 Westheimer Rd. Suite 519                                         Unliquidated
          Houston, TX 77098                                                     Disputed
          Date(s) debt was incurred 3/21/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $825.00
          Trackstreet.com                                                       Contingent
          9811 W. Charleston Blvd, Ste 2-776                                    Unliquidated
          Las Vegas, NV 89117                                                   Disputed
          Date(s) debt was incurred 12/27/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 16 of 18
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 Debtor       Emerald Health Bioceuticals, Inc.                                                       Case number (if known)
              Name

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,500.00
          Ultimate Vitality, LLC                                                Contingent
          100 Ocean Cay Way                                                     Unliquidated
          Hypoluxo, FL 33462                                                    Disputed
          Date(s) debt was incurred      1/30/20                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $102,940.31
          UNFI                                                                  Contingent
          313 Iron Horse Way                                                    Unliquidated
          Providence, RI 02908                                                  Disputed
          Date(s) debt was incurred      2019-2020                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,892.74
          UPS                                                                   Contingent
          P.O. BOX 894820                                                       Unliquidated
          LOS ANGELES, CA 90189                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       2820
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.00
          Veronica Letterman                                                    Contingent
          2541 N Norfolk Ave                                                    Unliquidated
          Tulsa, OK 74106                                                       Disputed
          Date(s) debt was incurred      2/8/20                              Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          Vitamin Discount Center, LLC                                          Contingent
          5519 Southern Comfort Blvd                                            Unliquidated
          Tampa, FL 33634                                                       Disputed
          Date(s) debt was incurred 10/25/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,000.00
          VITAMIN RETAILER MAGAZINE, INC.                                       Contingent
          431 CRANBURY ROAD SUITE C                                             Unliquidated
          EAST BRUNSWICK, NJ 08816                                              Disputed
          Date(s) debt was incurred 12/19/20
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,060.00
          Wainer Finest Communications, Inc.                                    Contingent
          51 Cragwood Road Suite 100                                            Unliquidated
          South Plainfield, NJ 07080                                            Disputed
          Date(s) debt was incurred 11/17/19
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Emerald Health Bioceuticals, Inc.                                                       Case number (if known)
              Name

 3.108     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $500.00
           Whole Foods Market Services, Inc.                                    Contingent
           550 Bowie St                                                         Unliquidated
           Austin, TX 78703                                                     Disputed
           Date(s) debt was incurred 10/30/19
                                                                             Basis for the claim:    Business Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.109     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $13,991.66
           Wilson Sonsini Goodrich & Rosati, P.C.                               Contingent
           650 Page Mill Road                                                   Unliquidated
           Palo Alto, CA 94304                                                  Disputed
           Date(s) debt was incurred 11/17/20
                                                                             Basis for the claim:    Business Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       IDG for Connell Communications
           Terese Patterson                                                                           Line     3.16
           492 Old Connecticut Path
                                                                                                             Not listed. Explain
           Framingham, MA 01701-9208


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                    209,949.30
 5b. Total claims from Part 2                                                                            5b.    +     $                 10,942,524.61

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                    11,152,473.91




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 18 of 18
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 Fill in this information to identify the case:

 Debtor name         Emerald Health Bioceuticals, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Emerald Health Bioceuticals, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Gaetano Morello

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF CALIFORNIA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $              0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1    Emerald Health Bioceuticals, Inc.                                                    Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.   List all payroll deductions:
     5a.     Tax, Medicare, and Social Security deductions                                5a.        $              0.00     $               0.00
     5b.     Mandatory contributions for retirement plans                                 5b.        $              0.00     $               0.00
     5c.     Voluntary contributions for retirement plans                                 5c.        $              0.00     $               0.00
     5d.     Required repayments of retirement fund loans                                 5d.        $              0.00     $               0.00
     5e.     Insurance                                                                    5e.        $              0.00     $               0.00
     5f.     Domestic support obligations                                                 5f.        $              0.00     $               0.00
     5g.     Union dues                                                                   5g.        $              0.00     $               0.00
     5h.     Other deductions. Specify:                                                   5h.+       $              0.00 +   $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
     8e. Social Security                                                                  8e.        $              0.00     $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $                 0.00 + $              0.00 = $              0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $              0.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                 Gaetano Morello                                                                   Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA                                            MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Emerald Health Bioceuticals, Inc.                                                         Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                    0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                    0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                    0.00
      6d. Other. Specify:                                                                    6d. $                                                    0.00
7.    Food and housekeeping supplies                                                           7. $                                                   0.00
8.    Childcare and children’s education costs                                                 8. $                                                   0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                   0.00
10.   Personal care products and services                                                    10. $                                                    0.00
11.   Medical and dental expenses                                                            11. $                                                    0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                    0.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                    0.00
14.   Charitable contributions and religious donations                                       14. $                                                    0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                             0.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                             0.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                     0.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                                    0.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    0.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify the case:

 Debtor name         Emerald Health Bioceuticals, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $250,000.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,700,000.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $738,980.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       Emerald Health Bioceuticals, Inc.                                                         Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Small Business Administration                               July 16, 2020                   $155,945.00                Secured debt
                                                                           $150,000                                                   Unsecured loan repayments
                                                                           September
                                                                                                                                      Suppliers or vendors
                                                                           21, 2020 -
                                                                                                                                      Services
                                                                           $($%
                                                                           Loans fully                                                Other
                                                                           secured by
                                                                           prfected
                                                                           liens on all
                                                                           assets

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Goyal Group | Investments &                                 July 2020                        $20,000.00           To return funds paid to debtor
               Development                                                                                                       as a deposit for shares which
               Suite 888, Unit 101 - 1001 West                                                                                   were never issued.
               Broadway
               Vancouver BC Canada V6H 4E4
               Investor

       4.2.    Rattan Bagga                                                July 2020                        $20,000.00           To repay amount paid to debtor
               3998 Marguerite St.                                                                                               as a deposit for shares that
               Vancouver, BC, V6j4G1                                                                                             were never issued.
               Investor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address

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 Debtor        Emerald Health Bioceuticals, Inc.                                                            Case number (if known)



                Case title                                       Nature of case               Court or agency's name and               Status of case
                Case number                                                                   address
       7.1.     Phillip Harvey v. Emerald                        Former emplyee -             Superior Court of California                Pending
                Health Bioceuticals                              wrongful                     330 W. Broadway                             On appeal
                37-2019-00064216-CU-WT-CT                        discharge.                   San Diego, CA 92101
                                                                                                                                          Concluded
                L

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                             Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates                    Total amount or
                 the transfer?                                                                                                                                   value
                 Address
       11.1.     San Diego Legal Pros
                 3110 Camino del Rio South,                                                                                    August and
                 Suite 315                                                                                                     September
                 San Diego, CA 92108                                 Attorney Fees                                             2020                         $10,000.00

                 Email or website address
                 jon@sandiegolegalpros.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3
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 Debtor        Emerald Health Bioceuticals, Inc.                                                         Case number (if known)




           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer            Total amount or
                Address                                          payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     5820 Nancy Ridge Dr.
                 San Diego, CA 92121

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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 Debtor        Emerald Health Bioceuticals, Inc.                                                        Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     Bank Of America                                 XXXX-1510                   Checking                 February 2020 -              $14,980.00
                 PO Box 17054                                                                Savings
                                                                                                                      balance
                 Wilmington, DE 19884                                                                                 transferred to
                                                                                             Money Market
                                                                                                                      Comerica Bank
                                                                                             Brokerage
                                                                                                                      account
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Symbia                                                        Symbia                               Inventory: 40 pallets of                No
       12505 NE 41st Street, Suite 200                                                                    product and 30 pallets of               Yes
       Kansas City, MO 64161                                                                              literature



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.
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 Debtor      Emerald Health Bioceuticals, Inc.                                                          Case number (if known)




22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Emerald Health Naturals                          EHN is a Canadian business which                 EIN:
             Canada                                           holds the distribution rights for
                                                              EHB's products in Canda.                         From-To      January 2018 to 2020


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Ella Traistaru


       26a.2.       IZA Rosario


       26a.3.       Kevin Ho



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None




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 Debtor       Emerald Health Bioceuticals, Inc.                                                         Case number (if known)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Regan Lohman
                    Lohman & Associates, Inc.
                    533 2nd Street
                    Encinitas, CA 92024

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Regan Lohman
                    Lohman & Associates, Inc.
                    533 2nd Street
                    Encinitas, CA 92024

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1                                                                                 October 2019,
       .                                                                                    February 2020
                                                                                            and September
                                                                                            2020.                    $2,615,173.29 Wholesale Value

                Name and address of the person who has possession of
                inventory records
                Debtor



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Avtar Dhillon                                  55 Vista Del Golfo                                  584,107 shares (9.346 %)              9.346
                                                      Long Beach, CA 90803

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Punit Dhillon                                  11220 Corte Belleza                                 director and owns 146,027             2.336
                                                      San Diego, CA 92130                                 shares (2.336%)

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Gaetano Morello                                9 Heritage Peak Rd.                                 CEO, Director and owner of            4.673
                                                      Port Moody, BC V3H 0H5                              292,053 shares (4.673%)
                                                      Canada


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 Debtor      Emerald Health Bioceuticals, Inc.                                                          Case number (if known)



       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Michael Murray                                 18650 N. Thompson Peak Pkwy                         292,053 shares (4.673%)            4.673
                                                      #1061
                                                      Scottsdale, AZ 85255
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Jade Beutler                                   12153 Salix Way                                     292,053 shares (4.673%)            4.673
                                                      San Diego, CA 92129

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Bernie Hertel                                  3015 Armada St.                                     116,821 shares (1.869%)            1.869
                                                      Coquitlam, BC V3C 3S4
                                                      Canada
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       James Heppell                                  4505 Stonehaven Avenue                              Director and owner of 146,027      2.336
                                                      North Vancouver, BC V7G 1E7                         shares (2.336%)
                                                      Canada`
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Emerald Health Sciences                        The Landing 200-375 Water St                        4,380,859 (70.094%)                70.094
                                                      Office 8262
                                                      Vancouver, BC., V6B 0M9
                                                      Canada


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Jade Beutler                                   12153 Salix Way                                     CEO                            until 2/7/20
                                                      San Diego, CA 92129

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Avtar Dhillon                                  55 Vista Del Golfo                                  Former Chairman                Until Oct 2019
                                                      Long Beach, CA 90803

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Tuan Diep                                      13504 Scarlet Sage Trail                            Former President               Until 3/31/20
                                                      San Diego, CA 92130

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Margaret Dalesandro                                                                                Former director                until 6/30/20




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 Debtor      Emerald Health Bioceuticals, Inc.                                                          Case number (if known)



       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Ella Traistaru                                                                                     Former CFO                       Until 3/31/20



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 20, 2020

 /s/ Gaetano Morello                                                    Gaetano Morello
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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Revised: 1/24/13
Name, Address, Telephone No. & I.D. No.
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 3110 Camino del Rio South, Suite 315
 San Diego, CA 92108
 (619) 881-0020
 229571 CA

                     UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
                   325 West "F" Street, San Diego, California 92101-6991


 In Re
 Emerald Health Bioceuticals, Inc.                                                    BANKRUPTCY NO.
 Tax I.D. / S.S. #: XX-XXXXXXX
                                                                     Debtor.



                                          UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
                                  RIGHTS AND RESPONSIBILITIES OF CHAPTER 7 DEBTORS
                                                AND THEIR ATTORNEY
In order for debtors and their attorneys to understand their rights and responsibilities in the bankruptcy process,
the following terms of engagement are hereby agreed to by the parties.

Nothing in this agreement should be construed to excuse an attorney from any ethical duties or responsibilities
under Federal Rule of Bankruptcy Procedure 9011 and the Local Bankruptcy Rules.

                                                                      I.
                                                Services Included in the Initial Fee Charged
The following are services that an attorney must provide as part of the initial fee charged for representation in a
Chapter 7 case:
1.          Meet with the debtor to review the debtor’s assets, liabilities, income and expenses.
2.          Analyze the debtor’s financial situation, and render advice to the debtor in determining whether to file a
            petition in bankruptcy.
3.          Describe the purpose, benefits, and costs of the Chapters the debtor may file, counsel the debtor
            regarding the advisability of filing either a Chapter 7, 11, or 13 case, and answer the debtor’s questions.
4.          Advise the debtor of the requirement to attend the Section 341(a) Meeting of Creditors, and instruct the
            debtor as to the date, time and place of the meeting.
5.          Advise the debtor of the necessity of maintaining liability, collision and comprehensive insurance on
            vehicles securing loans or leases.




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6.          Timely prepare, file and serve, as required, the debtor's petition, schedules, Statement of Financial
            Affairs, and any necessary amendments to Schedule C.
7.          Provide documents pursuant to the Trustee Guidelines and any other information requested by the
            Chapter 7 Trustee or the Office of the United State Trustee.
8.          Provide an executed copy of the Rights and Responsibilities of Chapter 7 Debtors and their Attorneys to
            the debtor.
9.          Appear and represent the debtor at the Section 341(a) Meeting of Creditors, and any continued meeting,
            except as further set out in Section II.
10.         File the Certificate of Debtor Education if completed by the debtor and provided to the attorney before
            the case is closed.
11.         Attorney shall have a continuing obligation to assist the debtor by returning telephone calls, answering
            questions and reviewing and sending correspondence.
12.         Respond to and defend objections to claim(s) of exemption arising from attorney error(s) in Schedule C.

                                                              II.
                                    Services Included as Part of Chapter 7 Representation,
                                                 Subject to an Additional Fee
The following are services, included as part of the representation of the debtor, but for which the attorney may
charge additional fees.
1.          Representation at any continued meeting of creditors due to client’s failure to appear or failure to
            provide required documents or acceptable identification;
2.          Amendments, except that no fee shall be charged for any amendment to Schedule C that may be
            required as a result of attorney error;
3.          Opposing Motions for Relief from Stay;
4.          Reaffirmation Agreements and hearings on Reaffirmation Agreements;
5.          Redemption Motions and hearings on Redemption Motions;
6.          Preparing, filing, or objecting to Proofs of Claims, when appropriate, and if applicable;
7.          Representation in a Motion to Dismiss or Convert debtor’s case;
8.          Motions to Reinstate or Extend the Automatic Stay;
9.          Negotiations with Chapter 7 Trustee in aid of resolving nonexempt asset, turnover or asset
            administration issues.


                                                                          2

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                                                    III.
                  Additional Services Not Included in the Initial Fee Which Will Require a
                                          Separate Fee Agreement
The following services are not included as part of the representation in a Chapter 7 case, unless the attorney and
debtor negotiate representation in these post-filing matters at mutually agreed upon terms in advance of any
obligation of the attorney to render services. Unless a new fee agreement is negotiated between debtor and
attorney, attorney will not be required to represent the debtor in these matters:
1.          Defense of Complaint to Determine Non-Dischargeability of a Debt or filing Complaint to determine
            Dischargeability of Debt;
2.          Defense of a Complaint objecting to discharge;
3.          Objections to Claim of Exemption, except where an objection arises due to an error on Schedule C;
4.          Sheriff levy releases;
5.          Section 522(f) Lien Avoidance Motions;
6.          Opposing a request for, or appearing at a 2004 examination;
7.          All other Motions or Applications in the case, including to Buy, Sell, or Refinance Real or other
            Property;
8.          Motions or other proceedings to enforce the automatic stay or discharge injunction;
9.          Filing or responding to an appeal;
10.         An audit of the debtor's case conducted by a contract auditor pursuant to 28 U.S.C. Section 586(f).

                                                                    IV.
                                                   Duties and Responsibilities of the Debtor
As the debtor filing for a Chapter 7 bankruptcy, you must:
1.          Fully disclose everything you own, lease, or otherwise believe you have a right or interest in prior to
            filing the case;
2.          List everyone to whom you owe money, including your friends, relatives or someone you want to repay
            after the bankruptcy is filed;
3.          Provide accurate and complete financial information;
4.          Provide all requested information and documentation in a timely manner, in accordance with the
            Chapter 7 Trustee Guidelines;
5.          Cooperate and communicate with your attorney;
6.          Discuss the objectives of the case with your attorney before you file;
                                                             3

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7.          Keep the attorney updated with any changes in contact information, including email address;
8.          Keep the attorney updated on any and all collection activities by any creditor, including lawsuits,
            judgments, garnishments, levies and executions on debtor’s property;
9.          Keep the attorney updated on any changes in the household income and expenses;
10.         Timely file all statutorily required tax returns;
11.         Inform the attorney if there are any pending lawsuits or rights to pursue any lawsuits;
12.         Appear at the Section 341(a) Meeting of Creditors, and any continued Meeting of Creditors;
13.         Bring proof of social security number and government issued photo identification to the Section 341(a)
            Meeting of Creditors;
14.         Provide date-of-filing bank statements to the attorney no later than 7 days after filing of your case;
15.         Pay all required fees prior to the filing of the case;
16.         Promptly pay all required fees in the event post filing fees are incurred;
17.         Debtors must not direct, compel or demand their attorney to take a legal position or oppose a motion in
            violation of any Ethical Rule, any Rule of Professional Conduct, or Federal Rule that is not well
            grounded in fact or law.
 Dated:        October 20, 2020                                          /s/ Gaetano Morello
                                                                         Gaetano Morello
                                                                         Debtor

 Dated:        October 20, 2020                                          /s/ Jon M. Cooper
                                                                         Jon M. Cooper 229571
                                                                         Attorney for Debtor(s)




                                                                          4

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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of California
 In re       Emerald Health Bioceuticals, Inc.                                                                Case No.
                                                                                   Debtor(s)                  Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 20, 2020                                                             /s/ Jon M. Cooper
     Date                                                                         Jon M. Cooper 229571
                                                                                  Signature of Attorney
                                                                                  San Diego Legal Pros
                                                                                  3110 Camino del Rio South, Suite 315
                                                                                  San Diego, CA 92108
                                                                                  (619) 881-0020 Fax: (619) 881-0020
                                                                                  jon@sandiegolegalpros.com
                                                                                  Name of law firm




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CSD 1008 [08/21/00]
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 (619) 881-0020
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                       UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
          325 West "F" Street, San Diego, California 92101-6991


 In Re
 Emerald Health Bioceuticals, Inc.
                                                                                           BANKRUPTCY NO.



                                                                              Debtor.

                                                            VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

      New petition filed. Creditor diskette required.                                                         TOTAL NO. OF CREDITORS: 114

      Conversion filed on               . See instructions on reverse side.
               Former Chapter 13 converting. Creditor diskette required.                                      TOTAL NO. OF CREDITORS:
               Post-petition creditors added. Scannable matrix required.
               There are no post-petition creditors. No matrix required.

      Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
      Equity Security Holders. See instructions on reverse side.
                         Names and addresses are being ADDED.
                         Names and addresses are being DELETED.
                         Names and addresses are being CORRECTED.

PART II (check one):

      The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

      The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
      the filing of a matrix is not required.




 Date:       October 20, 2020                                        /s/ Gaetano Morello
                                                                     Gaetano Morello/CEO
                                                                     Signer/Title




                                                          REFER TO INSTRUCTIONS ON REVERSE SIDE
CSD 1008
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CSD 1008 (Page 2) [08/21/00]
                                                                      INSTRUCTIONS

1)          Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)          A creditors matrix with Verification is required whenever the following occurs:

            a)          A new petition is filed. Diskette required.

            b)          A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

            c)          An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
                        debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)          The scannable matrix must be originally typed or printed. It may not be a copy.

4)          CONVERSIONS:

            a)          When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
                        mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

            b)          For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
                        mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
                        security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)          AMENDMENTS AND BALANCE OF SCHEDULES:

            a)          Scannable matrix format required.

            b)          The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
                        portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

            c)          Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
                        each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
                        on the same page in alphabetical order.

6)          Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD 1008
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                         Akin's Natural Foods
                         7807 E 51st St
                         Tulsa, OK 74145



                         Alenni Romero
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                         Tucson, AZ 85705



                         All About You LLC
                         1730 S Federal Hwy #287
                         Delray Beach, FL 33483



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                         Annmarie R Revet
                         PO Box 5723
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                         AON RISK INSURANCE SERVICES WEST, INC.
                         P.O. BOX 849832
                         LOS ANGELES, CA 90084



                         Avtar Dhillon
                         55 Vista Del Golfo
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                         Beyond Benefits
                         P.O. Box 87610
                         San Diego, CA 92138
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                     BLAZEPR
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                     Santa Barbara, CA 93101



                     Brittany Ann Wittelsberger
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                     Captek
                     16218 Arthur Street
                     Cerritos, CA 90703



                     CAS BioSciences, LLC
                     1501 Broadway 12th Floor
                     New York, NY 10036



                     Charlane Choquette
                     1430 N Cloverland Ave
                     Tucson, AZ 85712



                     CNA INSURANCE
                     P.O. BOX 790094
                     ST LOUIS, MO 63179



                     Connell Communications, Inc.
                     5 Speen St
                     Framingham, MA 01701



                     Cruz Bay Publishing
                     5720 Flatiron Parkway
                     Boulder, CO 80301



                     Dana Samu
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                     West Vancouver, BC V7P 1E1
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                     Deloitte & Touche LLP
                     4022 Sells Drive
                     Hermitage, TN 37076



                     Demos on the Go
                     3059 View Ridge Dr.
                     Spring Branch, TX 78070



                     Doctor Health, Inc.
                     1215 South Kihei Road
                     Suite O-505
                     Kihei, Maui, HI 96753



                     Dynamic Presence
                     12 Executive Court
                     South Barrington, IL 60010



                     Earth Origins Market
                     7807 E 51 St
                     Tulsa, OK 74145



                     Economics Partrners, LLC
                     PO Box 848351
                     Dallas, TX 75284



                     Edgar Agents, LLC
                     105 White Oak Lane
                     Suite 104
                     Old Bridge, NJ 08857



                     Edisoft
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                     Suite 710
                     Toronto, ON M2K 1E3



                     Efficient Collaborative Retail Marketing
                     27070 Miles Road, Suite A
                     Solon, OH 44139
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                     Elena Traistaru
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                     San Diego, CA 92131



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                     Parque Cientifico Tecnologico de Cordoba
                     Rabanales 21 Edif.Cantauro ID 18.1 Prime
                     Cordoba 14014



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                     Ste 201
                     Dover, DE 19904



                     Emerald Health Pharmaceuticals Inc
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                     San Diego, CA 92121



                     Emerald Health Sciences
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                     666 Burard St
                     Vancouver, BC., V6C 2X8



                     Emerson Ecologics, LLC
                     1230 Elm St. Ste 301
                     Manchester, NH 03101



                     England Logistics, Inc.
                     1325 South 4700 West
                     Salt Lake City, UT 84104



                     Eurofins BioDagnostics, Inc.
                     507 Highland Dr
                     River Falls, WI 54022



                     Foerstel Design, Inc.
                     249 South 16th Street
                     Boise, ID 83702
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                     Fox Rothschild LLP
                     2000 Market St, 20th Floor
                     Philadelphia, PA 19103



                     Frazier Farms Market
                     1820 Oceanside Blvd
                     Oceanside, CA 92054



                     Fruitful Yield, Inc.
                     244 Knollwood Drive
                     Suite 200
                     Bloomingdale, IL 60117-0001



                     Furniture Environments
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                     San Diego, CA 92121



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                     Canada



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                     PALATINE, IL 60055



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                     Henderson, NV 89074
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                     Health Quest Podcast, LLC
                     2730 Summerset Circle
                     Suamico, WI - WISCONSIN 54173-0000



                     Heather Angeline, Inc
                     5464 Caminito Exquisito
                     San Diego, CA 92130



                     Heather Stone
                     29204 Via Estancia
                     Valencia, CA 91354



                     ID.me Inc.
                     8281 Greensboro Dr. Suite 600
                     Tysons, VA 22102



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                     Terese Patterson
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                     Ilona Paley
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                     Informa Media, Inc.
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                     Inmar-YouTech, LLC
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                     Daly City, CA 94014



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                     Magdalena Paszkowska
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                     2615 River Road Unit #1
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                     Morrison & Foerster LLP
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                     National Cooperative Grocers Association
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                     Iowa City, IA 52240
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                     Natur-Tyme, Inc.
                     3160 Erie Blvd East
                     DeWitt, NY 13214



                     Natural Partners, Inc.
                     8445 E Hartford Dr
                     Scottsdale, AZ 85255



                     Natural Products Association
                     440 1st St. NW Ste. 520
                     Washington, DC 20001



                     Naturemed Research, Inc.
                     12153 Salix Way
                     San Diego, CA 92129



                     ORCA Naturals
                     4302 E La Puente Ave
                     Phoenix, AZ 85044



                     Palko Distributing
                     4991 W US Hwy 20
                     Michigan City, IN 46360



                     Pathway Consulting Group Ltd
                     105 Madison Way
                     Lansdale, PA 19446



                     Pegasus Marketing & Design, Inc.
                     338 Via Vera Cruz #160
                     San Marcos, CA 92078



                     Phillip Harvey
                     c/o Manuel Corrales, Jr.
                     17140 Bernardo Center Drive, Ste 358
                     San Diego, CA 92128
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                     Planet One Ventures, Inc.
                     856 Glen Arbor Dr.
                     Encinitas, CA 92024



                     Pulse Marketing Inc.
                     38625 Calistoga Dr. #100
                     Murrieta, CA 92563



                     Punit Dhillon
                     11220 Corte Belleza
                     San Diego, CA 92130



                     Rachel Elaine Smith
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                     Wichita, KS 67218



                     Real Food with Dana
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                     Silver Spring, MD 20901



                     Sara Pluta
                     10936 East Desert Troon Lane
                     Scottsdale, AZ 85255



                     SBS LEASING A PROGRAM OF DE LAGE LANDEN
                     1111 Old Eagle School Rd
                     Wayne, PA 19087



                     SELECT MAILING
                     9770 CARROLL CANYON RD STE E
                     SAN DIEGO, CA 92126



                     Sharp Electronics Corporation dba Sharp
                     8670 Argent St
                     Santee, CA 92071
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                     Shelly LeAnn Jones
                     4619 Royal Oak Rd
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                     Minneapolis, MN 55402



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                     antee, CA 92071



                     Stanley Cutts
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                     Phoenix, AZ 85029



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                     Waukesha, WI 53186



                     Susanne Bell
                     14724 125th St KPN
                     Gig Harbor, WA 98329



                     Tension Envelope Corporation
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                     Kansas City, MO 64108
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                     The Data Council, LLC c/o Advantage Sale
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                     Irvine, CA 92612



                     The Ideal Connection Inc.
                     30 North Gould, Suite 5953
                     Sheridan, WY 82801



                     Thrive Market, Inc.
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                     Marine Del Rey, CA 90292



                     Thrive Media
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                     Houston, TX 77098



                     Trackstreet.com
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                     Las Vegas, NV 89117



                     Tuan Diep
                     13504 Scarlet Sage Trail
                     San Diego, CA 92130



                     Ultimate Vitality, LLC
                     100 Ocean Cay Way
                     Hypoluxo, FL 33462



                     UNFI
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                     Providence, RI 02908



                     UPS
                     P.O. BOX 894820
                     LOS ANGELES, CA 90189
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                     2541 N Norfolk Ave
                     Tulsa, OK 74106



                     Vitamin Discount Center, LLC
                     5519 Southern Comfort Blvd
                     Tampa, FL 33634



                     VITAMIN RETAILER MAGAZINE, INC.
                     431 CRANBURY ROAD SUITE C
                     EAST BRUNSWICK, NJ 08816



                     Wainer Finest Communications, Inc.
                     51 Cragwood Road Suite 100
                     South Plainfield, NJ 07080



                     Whole Foods Market Services, Inc.
                     550 Bowie St
                     Austin, TX 78703



                     Wilson Sonsini Goodrich & Rosati, P.C.
                     650 Page Mill Road
                     Palo Alto, CA 94304
          Case 20-05195-MM7                           Filed 10/20/20          Entered 10/20/20 22:09:14             Doc 1    Pg. 68 of 69




                                                               United States Bankruptcy Court
                                                                     Southern District of California
 In re      Emerald Health Bioceuticals, Inc.                                                                 Case No.
                                                                                   Debtor(s)                  Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Emerald Health Bioceuticals, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 20, 2020                                                      /s/ Jon M. Cooper
 Date                                                                  Jon M. Cooper 229571
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Emerald Health Bioceuticals, Inc.
                                                                       San Diego Legal Pros
                                                                       3110 Camino del Rio South, Suite 315
                                                                       San Diego, CA 92108
                                                                       (619) 881-0020 Fax:(619) 881-0020
                                                                       jon@sandiegolegalpros.com




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CSD 1801 [12/01/16]
 Name, Address, Telephone No. & I.D. No.
 Jon M. Cooper 229571
 3110 Camino del Rio South, Suite 315
 San Diego, CA 92108
 (619) 881-0020
 229571 CA

                       UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
            325 West F Street, San Diego, California 92101-6991


 In Re
 Emerald Health Bioceuticals, Inc.
                                                                                                       BANKRUPTCY NO.



                                                                                   Debtor.

                                                        DECLARATION RE: ELECTRONIC FILING OF
                                                         PETITION, SCHEDULES & STATEMENTS
PART I - DECLARATION OF PETITIONER
          I [We] Gaetano Morello and                             , the debtor(s), hereby declare under penalty of perjury that the
information I have given my attorney and the information provided in the electronically filed petition, statements, and schedules is
true and correct. I consent to my attorney sending my petition, this declaration, statements and schedules to the United States
Bankruptcy Court. I understand that this Declaration Re: Electronic Filing is to be filed with the Clerk once all schedules have been
filed electronically but, in no event, no later than 14 days following the date the petition was electronically filed. I understand that
failure to file the signed original of this Declaration will cause my case to be dismissed pursuant to 11 U.S.C. § 707(a)(3) without
further notice.
                  [If petitioner is an individual whose debts are primarily consumer debts and has chosen to file under chapter 7] I am
aware that I may proceed under chapter 7, 11, 12 or 13 of 11 United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7. I request relief in accordance with the chapter specified in this petition.
                   [If petitioner is a corporation or partnership] I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor requests relief in
accordance with the chapter specified in this petition.
Dated: October 20, 2020
                                    Signed:       /s/ Gaetano Morello
                                                  Gaetano Morello
                                                  *(Debtor)
                             *If filed electronically, pursuant to LBR 5005-4(C), the original debtor signature(s) in a scanned format is required.


PART II - DECLARATION OF ATTORNEY
          I declare under penalty of perjury that I have informed the petitioner, if an individual, that [he or she] may proceed under
chapter 7, 11, 12 or 13 of Title 11, United States Code, and have explained the relief available under each such chapter. I further
certify that I have delivered to the debtor the notice required by 11 U.S.C. §342(b). In a case in which § 707(b)(4)(D) applies, this
signature also constitutes a certification that I have no knowledge after an inquiry that the information in the schedules is incorrect.
Dated: October 20, 2020
                                                                                              /s/ Jon M. Cooper
                                                                                              Jon M. Cooper 229571
                                                                                              Attorney for Debtor(s)




CSD 1801
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